IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MISSOURI

Sa/~t/»

WESTERN DIVISION

(Write the District and Division, if any, of the
court in which the complaint is jiled. )

 

 

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(Write the fall name of each plaintiff who is filing
this complaint § the names of all the plaintiffs
cannot fit in the space above, please write "see
attached ” in the space and attach an additional
page with the jdl list of names. )

-against-

Case No.

 

 

 

 

(Write the fall name of each defendant who is
being sued. If the names of all the defendants
cannot fit in the space above, please write “see
attached ” in the space and attach an additional
page with the fall list ofnames. Do not include
addresses here.)

 

 

Complaint for Violation of Civil
Rights

` (Prisoner Complaint)

18»31920v-3»RK @-P'

 

(to be filled in by the Clerk’s Oj‘ice)

REQUEST F0R TRIAL BY JURY

Plaintiff requests trial by jury. _U_YesM No

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I.

The Parties to This .Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages ifneeded.

Name Me/' <Ac_,}/

All other names by which you have been known:

 

 

 

 

 

ID Number

Current Institution ZZM/GGMA/ (Ta~'l/
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Address p0 kidd /OUS

MSAMAEL_

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation

B. The Defendant(s)

Make sure that the defendant(s) listed below are identical to those contained in the above
caption.

For an individual defendant, include the person’s job or title (it` known) and check whether
you are bringing this complaint against them in their individual capacity or official capacity,
or both.

Attach additional pages if needed.

Det`endant No. l

Name E_'MS té(;M
Job or Title Am;yz'@¢_€,élé, £>V.m»é/

 

 

 

 

 

(it` known)
Shield Number
Employer l r;' /' ` l _J
Address MMJYOU
`WIMé//)aa r_o?oc
Individual capacity m Ot`iicial capacity
3

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II.

Defendant No. 2

Nam€ M&Mzz?__
Job or Title MMM

(if known)
Shield Number
Employer
Address

 

 

   
 

 

 

Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights
privileges, or immunities secured by the Constitution and [federal laws].” Under Bivens v. Six
Unhnown NamedAgents of Federal Bureau ofNarcotics, 403 U.S. 388 (] 971), you may sue
federal officials for the violation of certain constitutional rights.

3

A. Are you bringing suit against (check all that apply):

E Federal officials (a Bivens claim)
w state or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” 42 U.S.C. § 1983.

Plaintiffs suing under Bivens may only recover for the violation of certain
constitutional rights.

What federal constitutional or statutory ri ght(s) do you claim is/a;re being violated by
state or local officials?

 

 

 

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III. Prisoner Status

Inclicate whether you are a prisoner or other confined person as follows (check all that apply):

|:lEljl:||jE

Pretrial detainee

Civilly committed detainee

lmmigration detainee

Convicted and sentenced state prisoner
Convicted and sentenced federal prisoner

Other (explain)

 

IV. Statement of Claim

Write a short and plain statement of FACTS that support your claim. Do not make legal
arguments You must include the following information:

What happened to you?

What injuries did you suffer?

Who was involved in what happened to you?

How were the defendants involved in what happened to you?
Where did the events you have described take place?

When did the events you have described take place?

If more than one claim is asserted, number each claim and write a short and plain statement of
each claim in a separate paragraph. Attach additional pages if needed.

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V.

VII.

Injuries

lf you sustained injuries related to the events alleged above, describe your injuries and state
what medical treatment, if any, you required did or did not receive.

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Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any
cases or statutes. If requesting money damages, include the amounts of any actual damages
and/or punitive damages claimed for the acts leged. Explain the basis for these claims.

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Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § I997e(a), requires that “[n]o action
shall be brought with respect to prison conditions under section 1983 of this title, or any other
F ederal law, by a prisoner confined in any jail, prison, or other correctional facility until such
administrative remedies as are available are exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be
dismissed if you have not exhausted your administrative remedies.

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A. Did yOUr Claim(S) arise While you Were confined in ajail, prison, or other correctional
facility?

 

If yes, name the jail, prison, or other correctional facility where you were confined at
the time of the events giving rise to your claim(s).

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B. Does thejail, prison, or other correctional facility where your claim(s) arose have a
grievance procedure?

E Yes
m No
m Do not know

C. Does the grievance procedure at the jail, prison, or other correctional facility where
your claim(s) arose cover some or all of your claims?

Yes
No
m Do not know

If yes, which claim(s)?

 

 

 

D. Did you file a grievance in the jail, prison, or other correctional facility Where your
claim(s) arose concerning the facts relating to this complaint?

Ves
No

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lino, did you file a grievance about the events described in this complaint at any other
jail, prison, or other correctional facility?

Yes
No
E. If you did file a grievance:

l. Where did you file the grievance?

i

 

 

 

 

 

 

 

2. What did you claim in your grievance? (Attach a copy of your grievance,_ if
avoilol)le)
3. What was the result, if any? (Attach a copy of any written response to your

grievance, yiavailable)

 

 

 

 

4. What steps, if any, did you take to appeal that decision? Is the grievance

process completed? If not, explain why not. (Descrz'be all efforts to appeal to
the highest level of the grievance process.)

 

 

 

 

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F. If you did not file a grievance:

I. If there are any reasons why you did not file a grievance, state them here:

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2. If you did not file a grievance but you did inform officials of your claim, state

who you informed, when and how, and their response, if any:

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G. Please set forth any additional information that is relevant to the exhaustion of your
administrative remedies.

 

 

 

(Note: You may attach as exhibits to this complaint any documents related to the
exhaustion of yo ur administrative remedies.)

VIII. Previous Lawsuits

The “three strikes rule” bars a prisoner H'om bringing a civil action or an appeal in federal court
without paying the filing fee if that prisoner has “on three or more prior occasions, while
incarcerated or detained in any facility, brought an action or appeal in a court of the United
States that was dismissed on the grounds that it is frivolous, malicious, or fails to state a claim
upon which relief may be granted, unless the prisoner is under imminent danger of serious
physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes

rule”?
Yes
No

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Ifso, state Which court dismissed your case, when this occurred, and attach a copy ofthe
order if possible.

 

 

A. Have you filed other lawsuits in state or federal court dealing with the same facts

 

B. If your answer to A is yes, describe each lawsuit by answering questions l through 7
below. (H there is more than one lawsuitl describe the additional lawsuits on another
page, using the sameformat.)

 

 

 

 

 

 

l. Parties to the previous lawsuit
Plaintiff(s)
Defendant(s)

2. Court (ifjederal co urt, name the district,' if state court, name the county and
State)

3. Docket or index number

4. Name ofludge assigned to your case

5. Approximate date of filing lawsuit

6. Is the case still pending?

m Yes
m No

If` no, give the approximate date of disposition.

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7. What WaS the result Of` the case? (For example: Was the case dismissed? Was
judgment entered in your favor? Was the case appealed?)

 

 

C. Have you filed other lawsuits in state or federal court otherwise relating to the
conditions of` your .imprisonment?
Yes
No
D. If your answer to C is yes, describe each lawsuit by answering questions l through 7

below. (lf there is more than one lawsuit, describe the additional lawsuits on another
page, using the same format )

 

 

 

 

 

 

l. Parties to the previous lawsuit
Plaintiff`(s)
Defendant(s)

2. Court (tf federal court, name the district,' if state court, name the county and
State)

3. Docket or index number

4. Name of Judge assigned to your case

5. Approximate date of filing lawsuit

6. Is the case still pending?

m Yes

E;} No (Ifno, give the approximate date ofdisposition):

 

ll

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7. What Was the result Of` the case? (For example.' Was the case dismissed?
Wasj'udgment entered in your favor? Was the case appealed?)

 

 

Certification and Closing

Under Federal Rule of Civil Procedure ll, by signing below, l certify to the best of my
knowledge, information, and belief that this complaint: (l) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost
of litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
specifically so identified, will likely have evidentiary support after a reasonable opportunity
for fdrther investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule ll.

I agree to provide the Clerk’s OEice with any changes to my address where case-related
papers may be served. l understand that my failure to keep a current address on file with the
Clerk’s Office may result in the dismissal of my case.

Date of signing: MQOL&
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Prison Identification # M /
Prison Address 15 l?qga /'0(15 TC)U'-

City state zip Code g'§,¢sy¢é§ ana 512 53

 

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